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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MARCIA DAY DONDIEGO, et al.                        : CIVIL ACTION
                                                   :
                 v.                                : NO. 22-2111
                                                   :
LEHIGH COUNTY BOARD OF                             :
ELECTIONS, et al.                                  :


                                             ORDER

                 AND NOW, this 16th day of June, 2022, it is ORDERED that this matter is
DISMISSED with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil
Procedure.   1




1
 That Rule provides, in pertinent part, that “an action may be dismissed at the plaintiff’s request
only by court order, on terms that the court considers proper. . . Unless otherwise specified in the
order, a dismissal under this paragraph is without prejudice.” By letter dated June 15, 2022,
Plaintiff’s counsel advised the Court that “the parties have fully and finally settled this matter and
respectfully request that this matter be marked settled, discontinued, and dismissed with
prejudice.” At 11:35 p.m. that same evening, Intervenor-Defendants Pennsylvania Republican
Party and Republican National Committee filed a letter requesting that the Court “decline
Plaintiff’s request to dismiss this suit on the terms Plaintiffs request.” The Intervenor-Defendants
main contention for opposing the settlements is that the settlements violate the Pennsylvania
Election Code.

In evaluating whether a non-settling party is prejudiced by a proposed settlement in
the Rule 41(a)(2) context, it is legal prejudice “from the dismissal of the suit” that the Court
considers, rather than “the alleged illegality of the settlement agreement that motivated the
motion.” SmithKline Beecham Corp. v. Pentech Pharmaceuticals, Inc., 261 F.Supp.2d 1002, 1006–
07 (N.D.Ill.2003) (emphasis in original). Formal legal prejudice occurs where a non-settling
defendant is “strip[ped] of a legal claim or cause of action,” Alumax Mill Prods., Inc. v. Congress
Fin. Corp., 912 F.2d 996,1001–02 (8th Cir.1990), or where the agreement restricts his right to seek
indemnification or contribution, Agretti v. ANR Freight Sys., Inc., 982 F.2d 242, 247 (7th Cir.1992).
As such, legal prejudice is most commonly found where the settlement attempts to thwart a
specific legal right of the non-settling party, such as “a partial settlement which purports to strip
[a non-settling defendant] of a legal claim or cause of action ...; a settlement that invalidates the
contract rights of one not participating in the settlement ...; [or where] the proposed settlement
would eliminate [a non-settling defendant's] right to assert an in pari
delicto defense.” SmithKline, 261 F.Supp.2d at 1006–07 (citing Waller v. Financial Corp. of
America, 828 F.2d 579, 582–83 (9th Cir.1987)).

On the other hand, a “showing of injury in fact, such as the prospect of a second lawsuit or the
creation of a tactical advantage, is insufficient” to meet the standard. Bragg v. Robertson, 54
F.Supp.2d 653, 664 (S.D.W.V.1999) (quoting Quad/Graphics, Inc. v. Fass, 724 F.2d 1230, 1233 (7th
Cir.1983)) (noting that this standard properly balances the law's encouragement of settlements
with the court's duty to protect the rights of the parties before it). Indeed, in SmithKline, the
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               The hearing scheduled for June 21, 2022 is CANCELED
                                                  BY THE COURT:



                                                  /s/ Jeffrey L. Schmehl
                                                  JEFFREY L. SCHMEHL, J.




district court specifically rejected the contention that the alleged illegality of a settlement
agreement constituted the type of legal prejudice contemplated by Rule 41(a) (2). SmithKline, 261
F. Supp. 2d at 1006-07.

The Court finds that the terms of dismissal are proper and that, under Rule 41(a)(2), the consent of
the non-settling Intervenor-Defendants to the terms of the settlement is immaterial. The Court
certainly takes no position on the alleged illegality of the settlement agreements. The Intervenor-
Defendants will not suffer any legal prejudice from the dismissal of this action as they are free to
assert their positions in future actions.
